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United States District Court
Central District of California

 

 

UNITED STATES OF AMERICA vs. Docket No. CR 14-00512 SJO-S
Defendant BRlONES, Nancv Social Security No. _9_ i _2_ _il_
akas: None (LaSt 4 digits)

 

JUDGMENT AND PROBATION/C()MMITMENT ORDER

MONTH DAY YEAR
In the presence of the attorney for the government, the defendant appeared in person on this date. August 29, 2016

COUNSEL l Paul A. Aquino (Retained)

(Name of Counsel)

PLEA l GUILTY, and the court being satisfied that there is a factual basis for the plea. m NOLO [| N()T
CONTENDERE GUILTY

FINDING l There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
18 U.S.C. § 1347 and 18 U.S.C. § 2: Health Care Fraud; Aiding and Abetting and Causing an Act to be Done as
charged in Count 9 of the Indictment.
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
COMM Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
ORDER custody of the Bureau of Prisons to be imprisoned for a term of:

 

 

 

 

 

lt is ordered that the defendant shall pay to the United States a special assessment of $100, which is
due immediately.

Def`endant shall pay restitution in the total amount of $2,972,930 pursuant to 18 U.S.C. § 3663A, to
victims as set forth in a separate victim list prepared by the probation office which this Court adopts
and Which reflects the Court's determination of the amount of restitution due to each victim. The
victim list, which shall be forwarded to the fiscal section of the clerk’s office, shall remain
confidential to protect the privacy interests of the victims.

The Court finds from a consideration of the record that the defendant's economic circumstances allow
for restitution payments pursuant to the following schedule: A partial payment of at least $5,000 shall
be paid immediately. The balance of the restitution shall be paid in nominal monthly payments of at
least l()% of defendant's gross income, but not less than $lOO, whichever is greater, during the term
of Supervised Release. Payments shall begin 30 days after the commencement of supervision
Nominal restitution payments are ordered as the Court finds that the defendant'S economic
circumstances do not allow for either immediate or future payment of the amount ordered.

The defendant shall be held jointly and severally liable with the defendants in the related cases
(“co-schemers”) for the restitution amount to Medicare as ordered in this judgment See list of
co-Schemers identified as defendants in the related cases below.

 

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Defendant’s liability for restitution ceases if and when defendant pays the total amount of restitution
imposed as to the defendant as ordered in this judgment or When adding together the payments of all
the below-listed co-Schemers, the largest restitution obligation of any of these co-schemers is
satisfied

No restitution payment made by any of the other co-schemers in this case or any defendant in any of
the related cases shall be credited to the defendant unless and until when adding together the
payments of all the below-listed co-schemers, the largest restitution obligation of any of these
defendants is satisfied

United States v. Ramon Parayno, CR 15-548-SJO
United States v. Kristen Castaneda, CR 15-14-SJO
United States v. Janel Licayan, CR 15-04-SJO
United States v. Priscilla Villabroza, CR 14-512-SJO
United States v. Mubina Siddiqui, CR 15-719-SJO
United States v. Erwin Castillo, CR 15-18-SJO
United States v. Sharon Patrow, CR 14-512-SJO
United States v. Nancy Briones, CR 14-5 12-SJO
United States v. Sri Wijegoonaratna, CR 14-512-SJO
0. United States v. Boyao Huang, CR 14-512

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Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the
defendant does not have the ability to pay interest Payments may be subject to penalties for default
and delinquency pursuant to 18 U.S.C. § 3612(g).

The defendant shall comply with General Order No. 01-05.

All fines are waived as it is found that the defendant does not have the ability to pay a fine in addition
to restitution

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant,
Nancy Briones, is hereby committed on Count 9 of the Indictment to the custody of the Bureau of
Prisons to be imprisoned for a term of 18 months. Following release from imprisonment the
defendant shall be placed on Supervised Release for a period of three years under following terms
and conditions: '

1. The defendant shall comply with the rules and regulations of the United States Probation
Office, General Order 05-02, and General Order 01-05, including the three special conditions
delineated in General Order 01-05.

2. The defendant Shall not commit any violation of local, state, or Federal law or ordinance.

 

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3. During the period of community supervision the defendant shall pay the special assessment
and restitution in accordance with this judgment’s orders pertaining to such payment

4. The defendant shall not be employed in any position that requires licensing and/or certification
by any local, state, or federal agency without the prior written approval of the Probation Officer.

5. The defendant shall not engage, as whole or partial owner, employee or otherwise, in any
business or profession that bills Medicare or Medi-Cal or any other publicly funded health care
benefit program without the express written approval of the Probation Officer prior to engaging in
such employment, business, or profession Further, the defendant shall provide the Probation Officer
with access to any and all business records, client lists, and other records pertaining to the operation
of any business owned, in whole or in part, by the defendant, as directed by the Probation Officer.

6. The defendant shall apply all monies received from income tax refunds to the outstanding
court-ordered financial obligation In addition the defendant shall apply all monies received from
lottery winnings, inheritance, judgments and any anticipated or unexpected financial gains to the
outstanding court-ordered financial obligation

7. The defendant shall cooperate in the collection of a DNA sample from the defendant

lt is further ordered that the defendant surrender himself to the institution designated by the Bureau
of Prisons on or before 12 noon, Tuesday, January 3, 2017. ln the absence of Such designation the
defendant shall report on or before the same date and time, to the United States Marshal located at the
Roybal F ederal Building, 255 East Temple Street, Los Angeles, California 90012.

The Court advises the Defendant of her right to appeal.

The Court recommends that the defendant shall be designated in Southern California.

In the interest of justice the Court grants the government’s motion to dismiss all remaining counts as
to this defendant only.

 

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ln addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed The Court may change the conditions of supervision reduce or extend the period of
supervision, and at any time during the supervision period or within the maximan period permitted by law, may issue a Warrant and revoke
supervision for a violation occurring during the supervision period

August 29, 2016 S. James Otero
Date U. S. District Judge/Magistrate Judge

 

 

lt is ordered that the Clerk deliver a copy of this .ludgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

Clerk, U.S. District Court

 

August29, 2016 By victor Paul Cruz WF» g g

Filed Date Deputy Clerk

 

 

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).
STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

While the defendant is on probation or supervised release pursuant to this judgment

1. The defendant shall not commit another Federal, state or local crime; 10. the defendant shall not associate with any persons engaged in criminal

2. the defendant shall not leave the judicial district without the written activity, and shall not associate with any person convicted of a felony
permission of the court or probation officer; unless granted permission to do so by the probation officer;

3. the defendant shall report to the probation officer as directed by the l 1. the defendant shall permit a probation officer to visit him or her at any
court or probation officer and shall submit a truthful and complete time at home or elsewhere and shall permit confiscation of any
written report within the first five days of each month; contraband observed in plain view by the probation oiiicer;

4. the defendant shall answer truthfully all inquiries by the probation 12. the defendant shall notify the probation officer within 72 hours of
officer and follow the instructions of the probation officer; being arrested or questioned by a law enforcement officer;

5. the defendant shall support his or her dependents and meet other 13. the defendant shall not enter into any agreement to act as an informer
family responsibilities; or a special agent of a law enforcement agency without the permission

6. the defendant shall work regularly at a lawful occupation unless of the court;
excused by the probation officer for schooling, training, or other 14. as directed by the probation officer, the defendant shall notify third
acceptable reasons; parties of risks that may be occasioned by the defendant’s criminal

7. the defendant shall notify the probation officer at least 10 days prior record or personal history or characteristics, and shall permit the
to any change in residence or employment; probation officer to make such notifications and to conform the

8. the defendant shall refrain from excessive use of alcohol and shall not defendant’s compliance with such notification requirement;
purchase, possess, use, distribute, or administer any narcotic or other 15. the defendant shall, upon release from any period of custody, report
controlled substance, or any paraphernalia related to such substances, to the probation officer within 72 hours;
except as prescribed by a physician; 16. and, for felony cases only: not possess a firearm, destructive device,

9. the defendant shall not frequent places where controlled substances or any other dangerous weapon.

are illegally sold, used, distributed or administered;

 

 

 

x The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).

 

 

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STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

' The defendant shall pay interest on a fine or restitution of more than $2,5007 unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15“‘) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)( l). Payments may be subject
to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). lnterest and penalties pertaining to restitution however, are not
applicable for offenses completed prior to Apri124, 1996.

lf all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision the defendant shall pay the
balance as directed by the United States Attomey’s Office. 18 U.S.C. §3613.

The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
residence until all fines, restitution costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution as required by 18 U.S.C. §3664(k). The
Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
§3563(a)(7).

Payments shall be applied in the following order:

1. Special assessments pursuant to 18 U.S.C. §3013;
2. Restitution, in this sequence:
Private victims (individual and corporate),
Providers of compensation to private victims,
The United States as victim;
3. Fine;
4. Community restitution pursuant to 18 U.S.C. §3663(0); and
5. Other penalties and costs.

SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

As directed by the Probation Officer, the defendant shall provide to the Probation Officer: ( l) a signed release authorizing credit report
inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement, with
supporting documentation as to all assets, income and expenses of the defendant ln addition the defendant shall not apply for any loan or open
any line of credit without prior approval of the Probation Officer.

The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
shall be deposited into this account, Which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
business accounts, shall be disclosed to the Probation Officer upon request.

The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

These conditions are in addition to any other conditions imposed by this judgment

 

 

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RETURN

l have executed the within Judgment and Commitrnent as follows:
Defendant delivered on to
Defendant noted on appeal on

 

Defendant released on

 

Mandate issued on

 

Defendant’s appeal determined on
Defendant delivered on to

at

the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

 

 

 

 

United States Marshal
By
Date Deputy Marshal
CERTIFICATE

l hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.

Clerk, U.S. District Court

By
Filed Date Deputy Clerk

 

 

 

FOR U.S. PROBATION OFFICE USE ONLY
Upon a finding of violation of probation or supervised release, l understand that the court may (l) revoke supervision (2) extend the term of
supervision and/or (3) modify the conditions of supervision

These conditions have been read to me. l fully understand the conditions and have been provided a copy of them.

(Signed)

 

 

Defendant Date

 

 

U. S. Probation Officer/Designated Witness Date

 

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